                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

    TERESA STRINGER, KAREN BROOKS,                Case No. 3:21-cv-00099
    WILLIAM PAPANIA, JAYNE NEWTON,
    MENACHEM LANDA, ANDREA                        CLASS ACTION
    ELIASON, BRANDON LANE, DEBBIE
    O’CONNOR, MICHELLE WILLIAMS and               ORDER AND JUDGMENT GRANTING
    WAYNE BALNICKI, Individually and on           FINAL APPROVAL OF CLASS ACTION
    Behalf of All Others Similarly Situated,      SETTLEMENT AND AWARD OF
                                                  ATTORNEYS’ FEES, COSTS, EXPENSES
          Plaintiffs,                             AND REPRESENTATIVE SERVICE
                                                  AWARDS
    v.

     NISSAN NORTH AMERICA, INC., and              District Judge William L. Campbell
     NISSAN MOTOR CO. LTD.                        Courtroom A826
                                                  Magistrate Judge Barbara D. Holmes
           Defendants.                            Courtroom 764



         Having considered Plaintiffs’ Motion for Final Approval of Class Action Settlement and

supporting Memorandum of Law, and Plaintiffs’ Motion for Award of Attorneys’ Fees,

Reimbursement of Expenses, and Service Awards for Class Representatives and supporting

Memorandum of Law (collectively, the “Briefing on Final Approval, Attorneys’ Fees, and

Expenses”) filed by Plaintiffs Teresa Stringer, Karen Brooks, William Papania, Jayne Newton,

Menachem Landa, Andrea Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and

Wayne Balnicki (“Plaintiffs”); having considered that, by order dated October 13, 2021, this Court

granted preliminary approval of the proposed Settlement Agreement1 in this case, preliminarily

certified a Settlement Class, and approved notice to that Class; and having held a Fairness Hearing

on March 21, 2022, and having considered all of the objections, submissions and arguments with

respect to the proposed Settlement;



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       This Order incorporates by reference the definitions in the Settlement Agreement, and all
terms herein shall have the same meaning as set forth in the Settlement Agreement.


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       THE COURT HEREBY FINDS AS FOLLOWS:

       1.      The Court confirms its previous preliminary findings in the Preliminary Approval

Order and finds that the settlement of the present action (the “Lawsuit”) satisfies the applicable

prerequisites for class action treatment under FED. R. CIV. P. 23(a) and 23(b)(3). Specifically, the

Court finds that the Settlement Class, as defined in Paragraph 38 of the Settlement Agreement and

also defined below, is so numerous that joinder of all members is not practicable, that questions of

law and fact are common to the Settlement Class, that the claims of the Plaintiffs are typical of the

claims of the Settlement Class, that the Plaintiffs and Class Counsel have and will fairly and

adequately protect the interests of the Settlement Class without conflict of interest, that questions

of law and fact common to the members of the Settlement Class predominate, for settlement

purposes, over any questions affecting only individual members, including the common questions

regarding the reliability, design and performance of the type of Continuously Variable

Transmission (“CVT” or “transmission”) in the Class Vehicles at issue; and that a class action is

superior to other available methods for the fair and efficient adjudication of the controversy, at

least for purposes of settlement.

       2.      Notice to the Settlement Class as required by Rule 23(e) of the Federal Rules of

Civil Procedure has been provided in accordance with the Court’s Preliminary Approval Order,

and Summary Notice by first-class mail was given in an adequate and sufficient manner. This,

coupled with all of the additional information contained on the Settlement Website, to which Class

Members were directed by the Summary Notice, constitutes the best notice practicable under the

circumstances, and satisfies all requirements of Rule 23(e) and due process.

       3.      In full accordance with the requirements of the Class Action Fairness Act of 2005,

28 U.S.C. § 1715, the Settlement Administrator caused to be mailed a copy of the proposed




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Settlement and all other documents required by said law to the Attorney General of the United

States and the Attorneys General in each of the jurisdictions where Class Members reside. None

of the Attorneys General filed objections to the Settlement. The Court finds and confirms that 28

U.S.C. § 1715 has been fully satisfied and that the Settlement is therefore entitled to binding effect

as to all members of the Settlement Class who did not timely and validly opt out.

       4.      The Court has considered all relevant factors for determining the fairness of the

Settlement and has concluded that all such factors weigh in favor of granting final approval. The

Settlement was a result of arm’s-length negotiation by experienced counsel with an understanding

of the strengths and weaknesses of their respective cases. Negotiation occurred with the benefits

of adequate investigation, discovery, and due diligence, and with the assistance of a well-respected

independent mediator. Among the factors that counsel considered in negotiating the Settlement are

those set forth in the Briefing on Final Approval, Attorneys’ Fees, and Expenses. As part of the

Lawsuit, Co-Lead Class Counsel have conducted a detailed investigation of the facts and analyzed

the relevant legal issues. Although the Plaintiffs and Co-Lead Class Counsel believe that the claims

asserted in the Amended Consolidated Class Action Complaint have merit, they also have

reasonably and adequately examined the benefits to be obtained under the Settlement compared to

the costs, risks, and delays associated with the continued litigation of these claims.

       5.      The Court finds that the Settlement is fair, reasonable, and adequate, particularly in

light of the complexity, expense, and likely duration of continued litigation and the risks involved

in establishing liability and damages and in maintaining class action status through trial and appeal.

       6.      The benefits to the Settlement Class constitute fair value given in exchange for the

release of the claims of the Settlement Class. The Court finds that the consideration to be provided

under the Settlement is reasonable in type and scope considering the facts and circumstances of




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this case, the types of claims and defenses asserted in the Lawsuit, the claims to be released, and

the risks associated with the continued litigation of these claims.

       7.      The Court finds that in all respects, the Settlement treats Class Members equitably

in relation to each other, and that the method of distribution of relief is fair, appropriate and

efficient. Those benefits that reasonably can be extended automatically (the warranty extension

on Class Vehicles and Vouchers for certain current and former owners not claiming

reimbursement) are extended automatically. A Claim Form is required only for reimbursements,

which is justified since Nissan otherwise would not have all of the information necessary to

determine the amount of and entitlement to the reimbursement. The method of processing those

Claim Forms is likewise fair, reasonable and adequate. Finally, there are no side agreements.

       8.      The Parties and Class Members have irrevocably submitted to the exclusive

jurisdiction of this Court for any suit, action, proceeding or dispute arising out of the Settlement.

       9.      It is necessary to protect this Court’s jurisdiction and ability to enforce this

judgment, and also in the best interest of the Parties and the Class Members and consistent with

principles of comity, judicial economy and the strong federal policy favoring settlement, that any

dispute between any Class Member (including any dispute as to whether any person is a Class

Member) and any Released Party which in any way relates to the applicability or scope of the

Settlement, or this Final Judgment and Order of Dismissal, should be presented exclusively to this

Court for resolution by this Court.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

       10.     The Court certifies a Settlement Class, for settlement purposes only, consisting of

the following: Subclass A shall be comprised of current and former owners and lessees of 2014-

2018 model year Nissan Rogue vehicles equipped with a continuously variable transmission




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(“CVT”) who purchased or leased Class Vehicles in the United States or its territories including

Puerto Rico. Subclass B shall be comprised of current and former owners and lessees of 2015-

2018 model year Nissan Pathfinder and 2015-2018 model year Infiniti QX60 vehicles equipped

with a CVT who purchased or leased Class Vehicles in the United States or its Territories.

Collectively, the current and former owners and lessees of Subclass A and Subclass B vehicles

shall be referred to as the “Settlement Class” and the vehicles of which they are comprised shall

be referred to as the “Class Vehicles.” The definition of Class Vehicles does not include Hybrid

Electric Vehicles. Excluded from the Settlement Class are: (1) Nissan North America, Inc.

(“NNA”), any entity or division in which NNA has a controlling interest, its/their legal

representatives, officers, directors, assigns and successors; (2) any judge to whom this case is

assigned and the judge’s clerks and any member of the judge’s immediate family, and the Sixth

Circuit Court of Appeals; and (3) government purchasers and lessees.

       11.     The Settlement Agreement submitted by the Parties is finally approved pursuant to

FED. R. CIV. P. 23(e) as being fair, reasonable, adequate, and in the best interests of the Settlement

Class. It shall be binding on Plaintiffs, Defendant, and all members of the Settlement Class who

did not timely and validly opt out. The Parties are directed to perform all obligations under the

Settlement Agreement in accordance with its terms.

       12.     The Lawsuit is hereby dismissed with prejudice and without costs. This Judgment

has been entered without any admission by any Party as to the merits of any allegation by any

Party in the Lawsuit and shall not constitute a finding of either fact or law as to the merits of any

claim or defense asserted in the Lawsuit.




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       13.     The Released Claims are hereby finally compromised, settled, released, discharged,

and dismissed with prejudice against the Released Parties by virtue of the proceedings herein and

this Final Judgment and Order of Dismissal.

       14.     All Class Members were given a full and fair opportunity to participate in the Final

Approval Hearing, and all Class Members wishing to be heard have been heard. Class Members

also have had a full and fair opportunity to opt out from the proposed Settlement and the Class.

Accordingly, the terms of the Settlement Agreement and of the Court’s Order and Judgment shall

be forever binding on all Class Members who did not timely opt out of the Settlement. These Class

Members have released and forever discharged NNA and all Released Parties from any and all

Released Claims.

       15.     Members of the Settlement Class and their successors and assigns are hereby

permanently barred and enjoined from asserting, commencing, prosecuting or continuing to

prosecute, either directly or indirectly, any Released Claim against any of the Released Parties in

any forum, with the exception of any former Class Members who have duly opted out of the

Settlement Class.

       16.     The named Plaintiffs are suitable class representatives and their appointment as

representatives for the Settlement Class is hereby re-confirmed. The Court approves an award of

$5,000 to each of Plaintiffs Teresa Stringer, Karen Brooks, William Papania, Jayne Newton,

Menachem Landa, Andrea Eliason, Brandon Lane, Debbie O’Connor, Michelle Williams, and

Wayne Balnicki as a reasonable payment for his or her efforts, expenses and risks as Plaintiffs in

bringing the Lawsuit, which shall be paid by NNA as provided in the Settlement.

       17.     Based upon the evidence submitted, the Court confirms its appointment as Co-Lead

Class Counsel of Mark S. Greenstone, Greenstone Law APC, Marc L. Godino, Glancy, Prongay




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& Murray LLP, and J. Gerard Stranch, IV, Bransetter, Stranch & Jennings PLLC. In addition to

Co-Lead Class Counsel, the Court confirms its appointment as Executive Committee Counsel of

Stephen R. Basser, Barrack, Rodos & Bacine, Lawrence Deutsch, Berger Montague PC, and Ryan

McDevitt, Keller Rohrback L.L.P. The Court finds that these attorneys possess the requisite

knowledge, experience, and skills to advance the interests of the Settlement Class. The

Court approves an award of $6,250,000.00 as reasonable payment for Attorneys’ Fees, Costs and

Expenses, which shall be paid by NNA and distributed by Co-Lead Class Counsel as provided in

the Settlement Agreement.

       18.     Without affecting the finality of this judgment, the Court’s retained jurisdiction of

this Settlement also includes the administration and consummation of the Settlement. In addition,

without affecting the finality of this judgment, the Court retains exclusive jurisdiction of, and the

Parties and all Class Members are hereby deemed to have submitted irrevocably to the exclusive

jurisdiction of this Court for, any suit, action, proceeding or dispute arising out of or relating to

this Order and the Settlement Agreement, or the applicability of the Settlement Agreement.

Without limiting the generality of the foregoing, any dispute concerning the Settlement

Agreement, including, but not limited to, any suit, action, arbitration or other proceeding by a Class

Member in which the provisions of the Settlement Agreement are asserted as a defense in whole

or in part to any claim or cause of action or otherwise raised as an objection, shall constitute a suit,

action or proceeding arising out of or relating to this Order. Solely for purposes of such suit, action

or proceeding, to the fullest extent possible under applicable law, the Parties hereto and all persons

within the definition of the Settlement Class are hereby deemed to have irrevocably waived and

agreed not to assert, by way of motion, as a defense or otherwise, any claim or objection that they




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are not subject to the jurisdiction of this Court, or that this Court is, in any way, an improper venue

or an inconvenient forum.

       19.     All Objections filed are hereby overruled and denied for the reasons stated on the

record at the fairness hearing.

       20.     Exhibit A lists the name and last six digits of the applicable VIN of each timely and

valid opt out as determined by the Settlement Administrator. The Court agrees with and adopts the

findings of the Settlement Administrator as to the validity of opt outs. Any other opt outs are

hereby ruled invalid and ineffective.

       21.     The Court finds that no just reason exists for delay in entering this Final Judgment

and Order of Dismissal. Accordingly, the Clerk is hereby directed to enter this Final Judgment.

       IT IS SO ORDERED.




         March 22, 2022
Dated: _________________________                       ____________________________________
                                                       The Honorable William L. Campbell

                                                       United States District Court Judge




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